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                  6        Facsimile: 925.946.9809
                  7        Attorneys for Defendant
                           RUSSELL SIGLER, INC.
                  8
                  9                                UNITED STATES DISTRICT COURT
               10                                CENTRAL DISTRICT OF CALIFORNIA
               11          STEVEN SANCHEZ; individually, and              Case No. 2:15-cv-1350-AB-PLA
                           on behalf of other members of the
               12          general public similarly situated,             REQUEST FOR JUDICIAL
                                                                          NOTICE IN SUPPORT OF
               13                          Plaintiff,                     MOTION TO DISMISS
                                                                          PLAINTIFF'S COMPLAINT FOR
               14          v.                                             FAILURE TO STATE A CLAIM
                                                                          UNDER FEDERAL RULE 12(B)(6)
               15
                           RUSSELL SIGLER, INC., a New                    Date: March 30, 2015
               16          Mexico corporation; and DOES 1                 Time: 10:00 a.m.
                           through 100, inclusive,                        Ctrm: 2 – 4th Floor
               17                                                         Judge: Hon.: Andre Birotte, Jr.
                                           Defendant.
               18
               19          TO THE COURT, PLAINTIFF STEVEN SANCHEZ AND HIS ATTORNEY
               20          OF RECORD HEREIN:
               21                Defendant Russell Sigler, Inc. (“Defendant”) hereby submits the following
               22          Request for Judicial Notice and respectfully requests that this Court to take judicial
               23          notice of the following facts pursuant to Federal Rules of Evidence 201, which allow
               24          the Court to take notice of adjudicative facts that is not subject to reasonable dispute:
               25                A.     January 23, 2011, Claim for Unemployment Benefits filed by Plaintiff
               26                       Steve    Sanchez    with    the     California   Employment     Development
               27                       Department.
               28
LITTLER MENDELSON, P.C.
       Treat Towers
    1255 Treat Boulevard   REQUEST FOR JUDICIAL NOTICE               1.        Case No. 2:15-cv-1350-AB-PLA
         Suite 600
  Walnut Creek, CA 94597   ISO MOTION TO DISMISS
       925.932.2468
                   Case 2:15-cv-01350-AB-PLA Document 8-2 Filed 02/26/15 Page 2 of 5 Page ID #:90



                  1        Dated: February 26, 2015                      /s/ William Hays Weissman
                                                                         WILLIAM HAYS WEISSMAN
                  2                                                      LITTLER MENDELSON, P.C.
                                                                         Attorneys for Defendant
                  3                                                      RUSSELL SIGLER, INC.
                  4
                  5                             MEMORANDUM OF POINTS AND AUTHORITIES
                  6                 Defendant requests this Court take judicial notice of the date Plaintiff last
                  7        worked for Defendant, January 20, 2011, from Plaintiff's claim for unemployment
                  8        benefits filed by him with the California Employment Development Department. A
                  9        court may take judicial notice of adjudicative facts where such facts are "not subject to
               10          reasonable dispute because … [they] can be accurately and readily determined from
               11          sources whose accuracy cannot reasonably be questioned." Fed. R. Evid. 201(b)(2).
               12          Courts have previously held that a claimant's filing with the EDD may be judicially
               13          noticed under this standard. See Lillis v. Apria Healthcare, Inc., 2013 U.S. Dist.
               14          LEXIS 53244, *9-*11 (S.D. Cal. 2013).
               15                   Therefore, because it cannot reasonably be disputed that Plaintiff's last day
               16          worked was January 20, 2011, as set forth in Plaintiff's own government filing, whose
               17          accuracy cannot reasonably be questioned, this Court should take judicial notice of
               18          such adjudicative fact.
               19
               20          Dated: February 26, 2015
               21
               22                                                        /s/ William Hays Weissman
                                                                         WILLIAM HAYS WEISSMAN
               23                                                        LITTLER MENDELSON, P.C.
                                                                         Attorneys for Defendant
               24                                                        RUSSELL SIGLER, INC.
               25          Firmwide:131881565.1 083236.1001


               26
               27
               28
LITTLER MENDELSON, P.C.
       Treat Towers
    1255 Treat Boulevard   REQUEST FOR JUDICIAL NOTICE              2.       Case No. 2:15-cv-1350-AB-PLA
         Suite 600
  Walnut Creek, CA 94597   ISO MOTION TO DISMISS
       925.932.2468
Case 2:15-cv-01350-AB-PLA Document 8-2 Filed 02/26/15 Page 3 of 5 Page ID #:91




                                               EXHIBIT                 A
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